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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING



RIA R SQUARED, INC.,
a Delaware Corporation,

       Plaintiff,

       v.                                                  Case No. 21-CV-222-S

WYOMING CATHOLIC COLLEGE,
A Wyoming Nonprofit Corporation,

       Defendant.




            Order Granting Stipulated Motion To Dismiss With Prejudice



       Upon consideration of the Stipulated Motion to Dismiss With Prejudice (ECF No. 32),

the Court hereby GRANTS the motion.

       IT IS HEREBY ORDERED that the above captioned matter is hereby dismissed with

prejudice with each party to bear their respective attorney's fees and costs.

       DATED this c*^ dav ofNovember. 2022.


                                                                &S.
                                                       fen. Scott W. Skavdahl
                                                      Chief United States District judge
